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 8                                       UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

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11 ROTHSCHILD PATENT IMAGING, LLC,                         Case No. 2:23−CV−00456−JDP

12                               Plaintiff,                ORDER REQUIRING (1) SERVICE OF
                                                           PROCESS AND (2) SUBMISSION OF THE
13                          v.                             CONSENT OR REQUEST FOR
                                                           REASSIGNMENT FORM
14 AFTERLIGHT COLLECTIVE, INC.,

15                               Defendant.

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17         This action has been assigned to Magistrate Judge Jeremy D. Peterson under the court’s

18 automated case assignment plan. See Local Rules, Appendix A, subsection (m). Pursuant to Federal

19 Rule of Civil Procedure 16, it is hereby ORDERED that:

20 I.       Service of Process

21         Plaintiff(s) shall complete service of process on all defendants within ninety days of the date the

22 complaint was filed. Concurrently with service of process, plaintiff(s) shall serve upon each defendant,

23 and upon all parties subsequently joined, a copy of this order, the Consent to Assignment or Request

24 for Reassignment form, and the Know Your Rights form.1 Within ten days of completion of service

25 of process, plaintiff(s) shall file with the Clerk of Court a certificate of service.

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           1The consent form is available on the court’s website at the following web address:

28 https://www.caed.uscourts.gov/caednew/index.cfm/forms/civil/.


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           Case 2:23-cv-00456-DJC-JDP Document 4 Filed 03/13/23 Page 2 of 2
 1         Any party who impleads a third-party defendant shall serve upon that defendant (1) a copy of

 2 this order, (2) the Consent to Assignment or Request for Reassignment form, and (3) the Know Your

 3 Rights form, and shall file with the Clerk of Court a certificate of service. If this action was commenced

 4 in state court and subsequently removed to this court, the removing party or parties shall immediately

 5 serve upon each of the other parties, and upon all parties subsequently joined, a copy of this order, the

 6 Consent to Assignment or Request for Reassignment form, and the Know Your Rights form, and shall

 7 file with the Clerk of Court a certificate of service.

 8 II.     Consent or Request for Reassignment

 9         Within ninety days of the date the action was filed, the parties shall complete and file the Consent

10 to Assignment or Request for Reassignment form. The judges will not be notified of any party’s election

11 unless all parties have consented. See Fed. R. Civ. P. 73(b)(1). If any party requests reassignment to

12 a United States District Judge, the Clerk of Court will assign a random District Judge to be the

13 presiding judge.

14 III.   Settlement Conference

15         If the parties believe that an early settlement conference would be productive, the parties can

16 request one be set before the undersigned or another randomly selected Magistrate Judge. To request

17 a settlement conference, contact Courtroom Deputy Nic Cannarozzi at (916) 930−4172.

18 IV.    Pretrial Scheduling Conference

19         A status (pretrial scheduling) conference will be set once all parties have appeared and have filed

20 a Consent to Assignment or Request for Reassignment form.

21 DATED:       March 13, 2023

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